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                      IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA

________________________________________

AFFINITY FINANCIAL CORPORATION and,                §
WATERFIELD FINANCIAL SERVICES,                     §
     INC,                                          §
                                                   §
       Petitioners,                                §
                                                   §
vs.                                                §
                                                   §
AARP FINANCIAL INC.,                               §      Case No. 10-2055
                                                   §      Hon. Ricardo M. Urbina
       Respondent .                                §      United States District Court Judge



                               CERTIFICATE OF SERVICE

        I hereby certify that on the 29th day of July, 2011, the accompanying Motion for
Attorneys’ Fees and Costs, together with its accompanying exhibits and proposed order, were
served by electronic means through the office of the Court Clerk for the District Court for the
District of Columbia:

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